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                     UNITED STATES COURT OF APPEALS                       FILED
                            FOR THE NINTH CIRCUIT                          JUN 27 2025
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
STATE OF WASHINGTON; et al.,                      No. 25-807
                                                  D.C. No.
              Plaintiffs - Appellees,             2:25-cv-00127-JCC
                                                  Western District of Washington,
 v.                                               Seattle
DONALD J. TRUMP; et al.,                          ORDER

              Defendants - Appellants.

Before: HAWKINS, GOULD, and BUMATAY, Circuit Judges.

      The parties are ordered to submit simultaneous supplemental briefs addressing

the effect, if any, of the United States Supreme Court’s decision in Trump v. CASA,

Inc., 606 U. S. ____ (2025), on the issues presented in this case. Each supplemental

brief shall be no longer than 20 pages and shall be submitted within 14 days of the

date of this order. All briefs shall conform to the format requirements of Rule

32(a)(4), (5) and (6), Federal Rules of Appellate Procedure. The stay of proceedings

is lifted, and this appeal shall proceed.
